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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
    JAYQUAN SEMIDEY, individually and on behalf of
    others similarly situated,
                                                                                Case No.: 22-cv-7098
                                                           Plaintiffs,
                                                                                       CLASS ACTION
                              - against -
                                                                                        COMPLAINT
    XPDEL, INC.,
                                                                                     Jury Trial Demanded
                                                          Defendant.



         The Named Plaintiff JAYQUAN SEMIDEY (the “Named Plaintiff”), by his attorneys,

Leeds Brown Law, P.C., alleges upon knowledge to himself and upon information and belief as to

all other matters as follows:


                                      PRELIMINARY STATEMENT

         1.       This action is brought pursuant to New York Labor Law (“NYLL”) Article 6 §§

190 et seq., to recover damages for delinquent wage payments made to workers who qualify as

manual laborers and who were employed at any time by Defendant XPDEL, INC. (“Defendant”)

between April 7, 20161 and the present (the “Relevant Period”) in the State of New York.

         2.       Upon information and belief, throughout the Relevant Period, Defendant has

compensated all its employees on a bi-weekly (every other week) basis, regardless of whether said

employees qualified as manual laborers under the NYLL.




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  Generally, the applicable statute of limitations for NYLL claims is six years – which means that ordinarily a
complaint “looks back” exactly six (6) years from the date of filing. However, the statute of limitations period was
tolled for a total of 228 days as a result of Gov. Cuomo’s Executive Order Nos. 202.14, 202.28, 202.38, 202.48,
202.55, 202.55.1, 202.60, 202.67, and 202.72. See Brash v. Richard, 195 A.D.3d 582 (2d Dep’t June 2, 2021)
(concluding that the Executive Orders constitute a tolling – as opposed to a suspension – of filing deadlines).

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        3.      Upon information and belief, Defendant has at no time during the Relevant Period

been authorized by the New York State Department of Labor Commissioner to compensate its

employees who qualify as manual laborers on a bi-weekly basis, in contravention of NYLL

Article 6 § 191, which requires that without explicit authorization from the Commissioner, such

workers must be compensated not less frequently than on a weekly basis.


                                   JURISDICTION & VENUE

        4.      This Court has personal jurisdiction over Defendant because Defendant conducts

business throughout the State of New York, including at its warehouse located in this District

where the Named Plaintiff and other employees worked.

        5.      This Court has subject matter jurisdiction over this proposed class action pursuant

to 28 U.S.C. § 1332(d), under the provisions of the Class Action Fairness Act, which specifies that

the federal courts maintain original jurisdiction in any class action in which at least 100 members

are in the proposed plaintiff class, any member of the plaintiff class is a citizen of a state different

from any defendant, and the matter in controversy exceeds the sum of $5,000,000, exclusive of

interest and costs. The Named Plaintiff submits that all such conditions are satisfied such that this

Court has original jurisdiction.

        6.      Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to the claims at issue occurred in this District.


                                           THE PARTIES

        7.      Plaintiff JAYQUAN SEMIDEY is an individual who currently resides in the State

of New York, and was employed by Defendant as a warehouse worker from 2021 until November

2022 at Defendant’s 25 9th Street, Brooklyn 11215 fulfillment center.


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       8.      Plaintiff typically performed physical tasks for more than of 25% of his workday,

as his responsibilities included, but were not limited to, lifting and moving heavy boxes in

furtherance of shipping, receiving, picking, packing, and loading and unloading trucks with the

use of pallet jacks. Plaintiff was compensated on a bi-weekly basis by Defendant throughout his

employment, and in so doing was time and again injured by Defendant’s failure to pay him timely

wages. Defendant’s conduct routinely deprived him on a temporary basis of monies he was

lawfully due, which denied him the ability to invest, save, or make purchases utilizing the wages

he earned and was owed.

       9.      Upon information and belief, Defendant XPDEL, INC. is a foreign company

organized and existing under the laws of the State of California, with a headquarters and principal

place of business located in Westlake Village, California.


                                   CLASS ALLEGATIONS

       10.     This action is properly maintainable as a class action under Rule 23 of the Federal

Rules of Civil Procedure.

       11.     This action is brought on behalf of the Named Plaintiff and a class consisting of

similarly situated employees who performed work for Defendant non-exempt, hourly positions

that required they perform physical tasks for more than 25% of their respective workdays.

       12.     The putative class is so numerous that joinder of all members is impracticable. The

size of the putative class is believed to be in excess of hundreds of employees. In addition, the

names of all potential members of the putative class are not known.

       13.     The questions of law and fact common to the putative class predominate over any

questions affecting only individual members. These questions of law and fact include, but are not

limited to:

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                a)         whether Defendant compensated its employees on a bi-weekly basis;
                b)         whether Defendant was lawfully permitted to compensate its employees on
                           a bi-weekly basis; and,
                c)         whether Defendant’s conduct constitutes a violation of NYLL § 191.

        14.      The claims of the Named Plaintiff are typical of the claims of the putative class.

The Named Plaintiff and putative class members were all subject to Defendant’s policies and

willful practices of failing to compensate employees in compliance with applicable law.

        15.     The Named Plaintiff and his counsel will fairly and adequately protect the interests

of the putative class.

        16.     The Named Plaintiff has retained counsel experienced in complex wage and hour

class action litigation.

        17.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The individual Named Plaintiff and putative class members lack

the financial resources to adequately prosecute separate lawsuits against Defendant.

        18.     A class action will also prevent unduly duplicative litigation resulting from

inconsistent judgments pertaining to the Defendant’s policies.


                     FIRST CAUSE OF ACTION AGAINST DEFENDANT:
                            FAILURE TO PAY TIMELY WAGES

        19.     The Named Plaintiff repeats and re-alleges the allegations set forth in the preceding

paragraphs.

        20.     The timely payment of wages provisions of NYLL § 191 and its supporting

regulations apply to Defendant and protect the Named Plaintiff and members of the putative class.

        21.     Defendant failed to pay the Named Plaintiff and members of the putative class on

a timely basis as required by NYLL § 191(1)(a).


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       22.     By the foregoing reasons, Defendant violated NYLL § 191(1)(a), and as such is

liable to the Named Plaintiff and putative class members in an amount to be determined at trial,

plus liquidated damages, interest, attorneys’ fees and costs.


                 SECOND CAUSE OF ACTION AGAINST DEFENDANT:
                   FAILURE TO PROVIDE NOTICE UPON HIRING

       23.     The Named Plaintiff repeats and re-alleges the allegations set forth in the preceding

paragraphs.

       24.     Pursuant to NYLL Article 6 § 195(1)(a), “every employer shall: provide his or her

employees, in writing in English and in the language identified by each employee as the primary

language of such employee, at the time of hiring, a notice containing the following information:

the rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece,

commission, or other; allowances, if any, claimed as part of the minimum wage, including tip,

meal, or lodging allowances; the regular pay day designated by the employer in accordance with

section one hundred ninety-one of this article; the name of the employer; any ‘doing business as’

names used by the employer; the physical address of the employer’s main office or principal place

of business, and a mailing address if different; the telephone number of the employer; plus such

other information as the commissioner deems material and necessary. Each time the employer

provides such notice to an employee, the employer shall obtain from the employee a signed and

dated written acknowledgement, in English and in the primary language of the employee, of receipt

of this notice…. For all employees who are not exempt from overtime compensation as established

in the commissioner’s minimum wage orders or otherwise provided by New York state law or

regulation, the notice must state the regular hourly rate and overtime rate of pay.”




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       25.     Here, the Named Plaintiff and, upon information and belief, other members of the

putative class, did not receive a notice in writing at hiring – or at any time thereafter – listing all

required information.

       26.     NYLL Article 6 § 198(1-b) provides that “[i]f any employee is not provided within

ten business days of his or her first day of employment a notice as required by subdivision one of

section one hundred ninety-five of this article, he or she may recover in a civil action damages of

fifty dollars for each work day that the violations occurred or continue to occur, but not to exceed

a total of five thousand dollars, together with costs and reasonable attorney’s fees. The court may

also award other relief, including injunctive and declaratory relief, that the court in its discretion

deems necessary or appropriate.”

       27.     By the foregoing reasons, Defendants violated NYLL Article 6 § 195(1)(a), and are

liable to the Named Plaintiff and putative class members in an amount to be determined at trial,

plus liquidated damages, interest, attorneys’ fees and costs


       WHEREFORE, the Named Plaintiff, individually and on behalf of others similarly

situated, seeks the following relief:

   (1) on the first cause of action, against Defendant in an amount to be determined at trial, plus

liquidated damages, interest, attorneys’ fees and costs, pursuant to the cited provisions;

   (2) on the second cause of action, against Defendants in an amount to be determined at trial,

plus liquidated damages, interest, attorneys’ fees and costs, pursuant to the cited provisions;

   (3) together with such other and further relief the Court may deem appropriate.




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Dated: Carle Place, New York             LEEDS BROWN LAW, P.C.
       November 21, 2022
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                                         Attorneys for the Named Plaintiff &
                                                Putative Class




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